                 Case 3:19-cv-05798-RBL Document 22 Filed 11/18/19 Page 1 of 3




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                                                         HONORABLE RONALD B. LEIGHTON
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                                UNITED STATES DISTRICT COURT
6                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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8    DOUGLAS FERRIE,                                 Case No. 3:19-cv-05798-RBL
9                   Plaintiff,                       NOTICE OF CHANGE OF ADDRESS
10          v.

11   WOODFORD RESEARCH LLC, et al.,

12                  Defendant.

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14
     TO:             CLERK OF THE COURT
15
     AND TO:         ALL COUNSEL OF RECORD
16

17          PLEASE TAKE NOTICE of the undersigned’s new mailing address that is effective

18   immediately. The new address is as follows:

19                               Michael E. Kipling
20                               Marjorie A. Walter
                                 WalterKipling PLLC
21                               5608 17th Ave NW #735
                                 Seattle, WA 98107
22

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     NOTICE OF CHANGE OF ADDRESS - 1                                   WALTERKIPLING PLLC
     (CASE NO. 3:19-CV-05798-RBL)                                        5608 17TH AVE NW #735
                                                                       SEATTLE, WASHINGTON 98107
                                                                        telephone (206) 545-0347
             Case 3:19-cv-05798-RBL Document 22 Filed 11/18/19 Page 2 of 3




1          DATED this 18th day of November, 2019.

2                                           s/ Marjorie A. Walter
3                                           Michael E. Kipling, WSBA #7677
                                            Marjorie A. Walter, WSBA #40078
4                                           WALTERKIPLING PLLC
                                            5608 17th Ave NW #735
5                                           Seattle, WA 98107
                                            (206) 545-0346
6                                           (206) 545-0347
7                                           mike@walterkipling.com
                                            marjorie@walterkipling.com
8
                                            Counsel for Defendants Greg Herlean and
9                                           Horizon Trust Company
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     NOTICE OF CHANGE OF ADDRESS - 2                                WALTERKIPLING PLLC
     (CASE NO. 3:19-CV-05798-RBL)                                     5608 17TH AVE NW #735
                                                                    SEATTLE, WASHINGTON 98107
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               Case 3:19-cv-05798-RBL Document 22 Filed 11/18/19 Page 3 of 3




1                                      CERTIFICATE OF SERVICE

2           I hereby certify that on the 18th day of November, 2019, I electronically filed the

3    foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

4    such filing to all counsel of record.

5

6           DATED this 18th day of November, 2019.

7
                                                  s/ Marjorie A. Walter
8                                                 Michael E. Kipling, WSBA #7677
                                                  WALTERKIPLING PLLC
9                                                 5608 17th Ave NW #735
10                                                Seattle, WA 98107
                                                  (206) 545-0347
11                                                marjorie@walterkipling.com

12                                                Counsel for Defendants Greg Herlean and
                                                  Horizon Trust Company
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     NOTICE OF CHANGE OF ADDRESS - 3                                          WALTERKIPLING PLLC
     (CASE NO. 3:19-CV-05798-RBL)                                                5608 17TH AVE NW #735
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